       Case 3:11-cv-04454-SI    Document 49       Filed 02/21/17   Page 1 of 3



 1   PHILLIP A. TREVIÑO [SBN 121119]
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 3
     Attorney for Petitioner
 4   ERNEST DYKES
 5
 6                             UNITED STATES DISTRICT COURT
 7                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
 9   ERNEST DYKES,                            )   Case No. 11-CV-04454-SI
                                              )
10              Petitioner,                   )   EX PARTE APPLICATION TO EXTEND
                                              )   DATE FOR REPLY / TRAVERSE TO
11                    v.                      )   ANSWER TO PETITION UNDER 28
                                              )   U.S.C. 2254
12   KEVIN CHAPPELL, Warden,                  )
                                              )
13             Respondent.                    )
     ______________________________           )   DEATH PENALTY CASE
14
15        Petitioner hereby applies to this Honorable Court for an order
16   extending by thirty (30) days the time for him to file a reply /
17   traverse to Respondent’s answer to the petition.
18        Currently Petitioner is due to file no later than February 28,
19   2017, his reply (consistent with Rule 5(e) of the Rules Governing
20   Section 2254 Cases) to Respondent’s answer to the petition.
21        For good cause, and incorporating by reference the attached
22   declaration of Phillip A. Treviño, Petitioner respectfully requests
23   this Honorable Court extend that deadline thirty (30) days until
24   March 30, 2017, to file his reply.
25
26   Dated: February 21, 2017                      s/Phillip A. Treviño
                                                   Attorney at Law
27                                                 Counsel for Petitioner
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       Case 3:11-cv-04454-SI   Document 49       Filed 02/21/17   Page 2 of 3



 1                       Declaration of Phillip A. Treviño
 2        I, Phillip A Treviño, do hereby state and declare as follows.
 3        1.      I am an attorney at law, duly admitted to practice before
 4   this Honorable Court and under appointment as lead counsel to
 5   Petitioner in this capital habeas.
 6        2.      Petitioner is currently due to file his reply / traverse
 7   to Respondent’s answer to the petition no later than February 28,
 8   2017.
 9        3.      This past Friday night, Los Angeles experienced what
10   local news outlets have described as the worse storm we have had in
11   years.    Countless area residents lost power for days, hundreds of
12   trees were downed, and multiple deaths resulted.                  Personally, I
13   had several massive trees on my property upended, damaging both my
14   own property and that of no fewer than three of my neighbors’
15   properties as well.       Multiple structures on my property were
16   destroyed (including one that was inhabited), and my own house roof
17   is now leaking, a particular problem given the ongoing rain that we
18   are experiencing.     I have had work crews here every day they could
19   work, although the ongoing inclement weather has somewhat impaired
20   their ability to work.      It is clear to me that just clearing the
21   resulting debris will take another week or longer, and then the
22   prospect of rebuilding will have to be tackled.                I also need to
23   ascertain and attend to remedying the losses my neighbors have
24   sustained.
25        4.      All of the foregoing has completely derailed the work I
26   had actively underway in this matter.               Given the amount of
27   supervision I need to exercise over these significant matters, with
28                                           Page -2-
       Case 3:11-cv-04454-SI   Document 49       Filed 02/21/17   Page 3 of 3



 1   all deference and respect to this Honorable Court I simply must ask
 2   this Court for further time to complete my work in this matter.
 3   This request is made solely due to this intervening development.
 4        5.    As soon as I began to learn of these events, I advised
 5   Counsel for Respondent, Mr. Eric D. Share, Supervising Deputy
 6   Attorney General, that it was becoming clear this was going to
 7   interfere with my ability to work and I would likely need to seek a
 8   further extension in this matter.             I transmitted a photograph to
 9   him showing a sample of the damage sustained on my property, and a
10   link to news coverage of the severity of the storm in question.               I
11   have since updated him further concerning these circumstances.
12        6.    This morning Mr. Share has advised me that since this
13   relief is based upon personal circumstances, his office takes no
14   position on the relief requested.
15        I declare under the penalty of perjury that the foregoing is
16   true and correct to the best of my knowledge. Executed this day
17   under the laws of the State of California.
18
19   Dated: February 21, 2017           s/Phillip A. Treviño
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